     Case 2:94-cr-81259-RHC ECF No. 1078, PageID.106 Filed 06/28/07 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA

                      Plaintiff,

v.                                                       Case No. 94-CR-81259


JIMMIE TRUSS
                Defendant.
____________________________________/

                     ORDER DENYING DEFENDANT’S “REQUEST”
                      TO WAIVE REMAINING BALANCE OF FINE

         This Defendant is again before the court with a post-conviction motion, this time

seeking an order of this court to recast the sentence to alleviate the remaining fine. He

complains about the interpretation of the Bureau of Prisons in organizing a payment

schedule and dealing with his prison financial account.

         The docket sheet reveals that after a three-week trial, Defendant was convicted

and sentenced in July, 1996. He appealed. His conviction was affirmed. He filed a

motion to vacate sentence, with several addenda. Before that motion was decided, he

filed another seeking the same relief, and that motion was stricken. He then filed a

motion to reconsider the order striking the second motion to vacate. It was stricken.

The original motion to vacate was then denied. He appealed. The appeal was rejected.

He filed another motion to vacate, which was transferred to the Circuit and there denied.

He filed two separate motions on the same day seeking this court’s recusal. They were
  Case 2:94-cr-81259-RHC ECF No. 1078, PageID.107 Filed 06/28/07 Page 2 of 2




denied. He filed a motion seeking “clarification of payments for the fine imposed.” It

was denied.

          The court is not persuaded that the present motion, in the form of a letter to the

court, is either distinct from the earlier denied motion for “clarification of payments” or

has merit. Further, the court doubts that it possesses any jurisdiction to oversee the

Bureau of Prisons’ financial relationship with the Defendant. In any event, the court is

not persuaded that the Bureau of Prisons has violated this court’s order related to

Defendant’s obligation to pay the relevant fine out of his earnings. Accordingly,

          IT IS ORDERED that Defendant’s “request” to waive remaining balance of fine,

docketed as a June 25, 2007 “Letter from Jimmie Truss Regarding Sentence” [Dkt. #

1077] is DENIED.


                                                              S/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE

Dated: June 28, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, June 28, 2007, by electronic and/or ordinary mail.


                                                              S/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




                                                                   2
S:\Cleland\JUDGE'S DESK\C3 ORDERS\94-81259-7.TRUSS.DenyMotionWaiveFine.wpd
